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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 21-513 (RBW)
WILLIAM WATSON,
Defendant.
)
ORDER

In accordance with the oral rulings issued by the Court at the motion hearing held on
October 27, 2022, via videoconference, it is hereby

ORDERED that the defendant’s Motion to Dismiss Obstruction Charge, ECF No. 38, is
DENIED. It is further

ORDERED that, on November 18, 2022 at 11:30 a.m., the parties shall appear for a
stipulated trial before the Court in Courtroom 16 on the 6th floor at the E. Barrett Prettyman
United States Courthouse, 333 Constitution Avenue, N.W., Washington, D.C. 20001. It is
further

ORDERED that, on or before November 16, 2022, the parties shall submit a stipulated
Statement of Facts. It is further

ORDERED that, with the consent of the defendant and the government, the time from
October 27, 2022, until the stipulated trial scheduled for November 18, 2022, is excluded under
the Speedy Trial Act, in the interests of justice due to the parties’ desire to have this matter

resolved by a stipulated trial.
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SO ORDERED this 27th day of October, 2022.

ko pe fh Noble

REGGIE B. WALTON
United States District Judge
